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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

MAMADOU ALPHA BAH,
Plaintiff,
Vv. C.A. No. 17-12542-MLW
ENTERPRISE RENT-A-CAR COMPANY
OF BOSTON, LLC, and

ENTERPRISE HOLDINGS, INC.,
Defendants.

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MEMORANDUM AND ORDER

 

WOLF, D.Jd. September 2, 2021

I. INTRODUCTION

This is a putative class action brought by plaintiff Mamadou
Alpha Bah against defendants Enterprise Rent-A-Car Company of
Boston and Enterprise Holdings, Inc., and alleging violations of
federal and Massachusetts overtime laws. Defendants have moved for
reconsideration of the November 13, 2020 Order, which denied
defendants' motion to dismiss the claims that its alleged
violations were willful. For the reasons described below, the
motion for reconsideration is being denied.

In addition, the parties dispute how this case should proceed.
See Feb. 17, 2021 Joint Statement (Dkt. No. 114). Plaintiff
requests that the court next decide his Motion for the Issuance of
Notice Pursuant to §216(b) of the Fair Labor Standards Act, 29
U.S.C. §§201 et seq. (the "PLSA") (Dkt. No. 5), which asks the

court to conditionally certify a class. Defendants, however, argue

 
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that the court should first address the issue of equitable tolling,
because that issue could preclude class certification or
significantly affect the scope of any possible class. Defendants
also seek to defer litigation concerning conditional certification
in order to conduct limited discovery concerning willfulness and
Bah's individual claims, in order to "inform the Parties' briefing
on which individuals may be 'similarly situated’ to Bah for
purposes of FLSA certification." Feb. 17, 2021 Joint Statement at
7. For the reasons explained below, the court is not deferring
litigation on the conditional certification motion and is ordering
a briefing schedule for that motion if it must be litigated.

II. MOTION FOR RECONSIDERATION

For claims brought under the FLSA, the applicable statute of
limitations depends on whether the alleged violations were
"willful." See 29 U.S.C. §255(a). Defendants moved to dismiss
plaintiff's "willfulness claims," arguing that he failed to plead
those claims with particularity. See Dkt. No. 94 at 16-19. The
court denied the motion because willfulness relates to defendants’
affirmative statute of limitations defense, and claims cannot be
dismissed based on an affirmative defense unless plaintiff's
pleadings establish the defense with certitude. See Nov. 13, 2021
Mem. at 33 (Dkt. No. 103). Defendants contend that this was an

error of law and that FLSA willfulness claims must be pleaded with
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particularity in order to survive a motion to dismiss. See Mot.
Reconsideration at 4-8 (Dkt. No. 106).
A. Legal Standard
"(I]nterlocutory orders, including denials of motions to
dismiss, remain open to trial court reconsideration, and do not
constitute the law of the case." Harlow v. Children's Hosp., 432
F.3d 50, 55 (lst Cir. 2005). See also Latin Am. Music Co. Inc. v.

Media Power Grp., Inc., 705 F.3d 34, 40 (lst Cir. 2013). However,

 

"Im]otions for reconsideration are not to be used as a vehicle for
a party to advance arguments that could and should have been
presented to the district court prior to its original ruling."

Villanueva v. United States, 662 F.3d 124, 128 (1st Cir. 2011)

 

(citing United States v. Allen, 573 F.3d 42, 53 (lst Cir. 2009).
Rather, "[r]econsideration may be proper where the movant shows a
manifest error of law or newly discovered evidence, or where the
district court has misunderstood a party or made an error of
apprehension.” Id. (citing Ruiz Rivera v. Pfizer Pharm., LLC, 521

F.3d 76, 81-82 (lst Cir.2008)).

B. Analysis
Defendants do not contend that newly discovered evidence or
an intervening change in the law justifies reconsideration of the
November 13, 2020 Order. Rather, they argue that the court's
decision was based on an error of law. See Mot. Reconsideration at

3-4 (Dkt. No. 106). In support of this argument, they cite a litany

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of district court decisions that indicated that FLSA plaintiffs
are required to plead willfulness with particularity to survive a
motion to dismiss. See id.! Defendants also supplemented their
motion for reconsideration with a recently decided case in which
the Second Circuit endorsed that view. See Whiteside v. Hover-
Davis, Inc., 995 F.3d 315, 320 (2d Cir. 2021).

However, Whiteside merely creates a circuit split on this
issue. As the court in Whiteside recognized, see id. (citing

Fernandez v Clean House, LLC, 883 F.3d 1296, 1298-99 (10th Cir.

 

2018)), other courts of appeals have held that a FLSA plaintiff
need not plead willfulness with particularity. In Fernandez, the
Tenth Circuit found that applying the two-year statute of
limitations at the motion to dismiss stage was inappropriate where

"(t]he Complaint hardly contain[ed] an admission that the alleged

 

1 Cases cited by defendants include Chesley v. DIRECTV, Inc., No.
14-CV-468-PB, 2015 WL 3549129, at *7 (D.N.H. June 8, 2015); Acosta
v. Holland Acquisitions, Inc., 2018 WL 6242231, at *5 (W.D. Pa.
Nov. 29, 2018); Mell v. GNC Corp., 2010 WL 4668966, at *9 (W.D.
Pa. Nov. 9, 2010); Buchspies v. Pfizer, Inc., No. CV 18-16083,
2019 WL 5078853, at *4 (D.N.J. Oct. 10, 2019); Ochoa v. Pearson
Educ., Inc., No. 11-CV-1382 DMC-JAD, 2012 WL 95340, at *3 (D.N.J.
Jan. 12, 2012); Garcia v. Tenafly Gourmet Farms, Inc., 2012 WL
715316, at *2 (D.N.J. July 8, 2010)); Livers v. Nat'l Collegiate
Athletic Ass'n, No. CV 17-4271, 2018 WL 2291027, at *8 (E.D. Pa.
May 17, 2018); Lagasse v. Flextronics Am., LLC, No. CA 11-445 ML,
2012 WL 2357442, at *2 (D.R.I. June 1, 2012), report and
recommendation adopted, No. CA 11-445 ML, 2012 WL 2357641 (D.R.I.
June 20, 2012); Rowlett v. Michigan Bell, No. 1:11-CV-1269, 2013
WL 308881, at *2 (W.D. Mich. Jan. 25, 2013); and Kellgren v. Petco
Animal Supplies, Inc., No. 13-CV-0644 W (KSC), 2013 WL 12076473,
at *2 (S.D. Cal. Sept. 13, 2013); Colson v. Avnet, Inc., 687 F.
Supp. 2d 914, 921-22 (D. Ariz. 2010).

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FLSA violations were not willful." See also Rivera v. Peri & Sons
Farms, Inc., 735 F.3d 892, 903 (9th Cir. 2013) (finding general
allegation that "violations were 'deliberate, intentional, and
willful'" sufficient to survive motion to dismiss, because "[a]t
the pleading stage, a plaintiff need not allege willfulness with
specificity"). Numerous district courts have taken a similar
approach.?

Whiteside is the only case cited by defendants that was
decided after this court's November 13, 2020 decision. Whiteside
essentially reiterates reasoning in cases defendants cited

previously and the court considered previously. Whiteside does not

 

2 See Acosta Colon v. Wyeth Pharms. Co., 363 F. Supp. 2d 24, 29-
30 (D.P.R. 2005), amended on reconsideration in part sub nom.
Acosta Colon v. Wyeth Pharms. Co. Inc. (D.P.R. Mar. 1, 2006); Davis
v. W. Wayne Sch. Dist., No. 3:07CV1906, 2008 WL 11366358, at *2
(M.D. Pa. May 9, 2008); Strange v. Prince George's Cty., Maryland,
No. CV TDC-19-2761, 2020 WL 4350373, at *6 (D. Md. July 29, 2020);
Aviles-Cervantes v. Outside Unlimited, Inc., 276 F. Supp. 3d 480,
491 (D. Md. 2017); Andrade v. Teichroeb, 341 F. Supp. 3d 681 (N.D.
Tex. 2018); Perkins v. Total Bldg. Maint., Inc., No. 3:14-CV-2398-
B, 2015 WL 1609193, at *4 (N.D. Tex. Apr. 7, 2015); Craven v. Excel
Staffing Serv., Inc., No. H-12-2860, 2014 WL 345682, at *8 (S.D.
Tex. Jan.30, 2014); Divine v. Volunteers of Am. of Illinois, 319
F. Supp. 3d 994, 1001 (N.D. Ill. 2018); DeKeyser v. Thyssenkrupp
Waupaca, Inc., 589 F. Supp. 2d 1026, 1036 (E.D. Wis. 2008);
Woodards v. Chipotle Mexican Grill, Inc., No. 14-CV-4181 SRN/SER,
2015 WL 3447438, at *9 (D. Minn. May 28, 2015); Ferguson v. Smith,
No. 3:18-CV-00372-SB, 2018 WL 3733665, at *8 (D. Or. July 18,
2018), report and recommendation adopted, No. 3:18-CV-0372-SB,
2018 WL 3732657 (D. Or. Aug. 6, 2018); Judd_v. KeyPoint Gov't
Sols., Inc., No. 18-CV-00327-RM-STV, 2018 WL 3057880, at *6 (D.
Colo. June 20, 2018), report and recommendation adopted, No. 18-
CV-00327-RM-STV, 2018 WL 4368678 (D. Colo. Aug. 2, 2018); Machado
v. Fla. Davis, Inc., No. 609CV21020RL28KRS, 2010 WL 11578641, at
*1 (M.D. Fla. Sept. 2, 2010).

 

 

 
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persuade the court that its November 13, 2020 decision was based
on a manifest error of law. As explained in the November 13, 2020
Memorandum, this court's reasoning was consistent with First
Circuit law concerning an affirmative defense to defeat a motion
to dismiss. See Nov. 13, 2020 Mem. at 33 (citing Trans-Spec Truck
Serv., Inc. v. Caterpillar Inc., 524 F.3d 315, 320 (lst Cir. 2008);
Blackstone Realty LLC v. FDIC, 244 F.3d 193, 197 (1st Cir. 2001)).
As discussed more fully in that Memorandum, "willfulness" is not
an element of a FLSA claim, but rather is an element of defendants'
statute of limitations defense. See Nov. 13, 2020 Mem. at 32.
"Dismissing a case under Rule 12(b)(6) on the basis of an
affirmative defense requires that '(i) the facts establishing the
defense are definitively ascertainable from the complaint and the
other allowable sources of information, and (ii) those facts
suffice to establish the affirmative defense with certitude.'"

Nisselson v. Lernout, 469 F.3d 143, 150 (1st Cir. 2006) (quoting

 

Rodi v. S. New Engl. Sch. of Law, 389 F.3d 5, 12 (lst Cir. 2004)).
In this case, the facts plaintiff alleges do not establish with
certitude that the alleged violations of the FLSA were not willful.
Accordingly, the motion for reconsideration is being denied.

III. CONDITIONAL CERTIFICATION

In addition, the court is not deferring litigation on
plaintiff's Motion for the Issuance of Notice Pursuant to §216(b)

of the FLSA (Dkt. No. 5), which asks the court to conditionally

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certify a FLSA class. As discussed earlier, plaintiff argues that
litigation of that motion should proceed now. Defendants, however,
contend such litigation should be deferred until the court:
(1) determines whether the claims of potential opt-in class
members should be equitably tolled, and (2) allows limited
discovery regarding the issues of willfulness and Bah's individual
claims for the purpose of determining Bah's suitability as class

representative. See Feb. 17, 2021 Joint Statement (Dkt. No. 114)

A. It is Not Appropriate to Defer Conditional
Certification Pending Resolution of the Equitable

Tolling Issue
The purpose of equitable tolling is to "“extend[] statutory
deadlines in extraordinary circumstances for parties who were
prevented from complying with them through no fault or lack of
diligence of their own." Neves v. Holder, 613 F.3d 30, 36 (1st
Cir. 2010). "[A] litigant seeking equitable tolling bears the
burden of establishing two elements: (1) that he has been pursuing
his rights diligently, and (2) that some extraordinary
circumstance stood in his way." Id. (quoting Pace v. DiGuglielmo,
544 U.S. 408, 418 (2005)). "Federal courts have typically extended
equitable relief only sparingly in suits against private
litigants, allowing tolling where the claimant has actively

pursued his judicial remedies by filing a defective pleading or

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where he has been induced or tricked by his adversary's misconduct
into allowing the filing deadline to pass." Irwin v. Dep't of
Veterans Affairs, 498 U.S. 89, 90 (1990).

Whether a plaintiff has exercised "reasonable diligence"
sufficient to justify equitable tolling is "an equitable, often
fact-intensive inquiry.” Holland v. Fla., 560 U.S. 631, 654 (2010).
Judges in the District of Massachusetts and others have, therefore,
found it inappropriate to resolve equitable tolling on a class-
wide basis before actual class members have been identified. See,

e.g., Tidd v. Adecco USA, Inc., 2010 WL 996769, *3 (D. Mass. Mar.

 

16, 2010); Gonpo v. Sonam's Stonewalls & Art LLC, 2018 WL 1725695,
*8 (D. Mass. Apr. 9, 2018); Sanchez-Rosa v. Municipality of San
Juan, 2020 WL 6286503, *5-6 (D.P.R. Oct. 27, 2020). The Federal
Circuit has reached the same conclusion. See United States v. Cook,
795 F.2d 987, 994 (Fed. Cir. 1986).

Moreover, resolving this issue solely with respect to
hypothetical opt-in plaintiffs might constitute an impermissible
advisory opinion. Federal courts cannot "declare principles or
rules of law which cannot affect the matter in the case before
it." Church of Scientology of California v. United States, 506
U.S. 9, 12 (1992) (quoting Mills v. Green, 159 U.S. 651, 653
(1895)). Bah filed this complaint before the statute of limitations
expired, regardless of whether’ the applicable statute of

limitations is two or three years. See Nov. 13, 2020 Order (Dkt.

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No. 103) at 34. Therefore, no one who is currently a party to this
case could be affected by a decision on equitable tolling. Instead,
the decision would impact only hypothetical opt-in plaintiffs. If
actual opt-in plaintiffs do seek to join a class, facts specific
to each individual could warrant exceptions to any blanket ruling
the court issues on equitable tolling. In each of the cases cited
earlier, the courts reasoned that such a ruling would be advisory
and, therefore, unconstitutional. See Cook, 795 F.2d at 994; Tidd,
2010 WL 996769, at *3; Sanchez-Rosa, 2020 WL 6286503, at *5-6;
Gonpo, 2018 WL 1725696, at *8.

In view of the individualized, fact-specific nature of
equitable tolling, as well as the possibility that adjudicating
the issue of equitable tolling for unidentified class members would
be unconstitutional, the court is not deferring conditional
certification in order to resolve the issue of equitable tolling.

B. It is Not Appropriate to Defer Conditional
Certification Pending Limited Discovery

Similarly, the court is not deferring conditional
certification pending limited discovery. Courts in the First
Circuit take a two-step approach to FLSA class certification. At
the first step, in order to conditionally certify and send notice
to the class, plaintiffs need only "mak[e] a modest factual showing
or assert[] substantial allegations that the putative class

members were together the victims of a single decision, policy, or

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plan that violated the law." Trezvant v. Fid. Emp. Servs. Corp.,

 

434 F. Supp. 2d 40, 43 (D. Mass. 2006) (internal quotations and
emphasis omitted). "Usually, the initial stage determination is
based ‘only on the pleadings and any affidavits which have been

submitted.'" Id. (quoting Kane v. Gage Merch. Servs., Inc., 138 F.

 

Supp. 2d 212, 214 (D. Mass. 2001)). Courts apply "a fairly lenient
standard, which typically results in conditional certification."
Id. At a later stage, after discovery, defendants will have the
opportunity to have the collective action decertified if plaintiff
cannot prove that he is "similarly situated" to members of the
putative class. Anderson v. Cagle's, Inc., 488 F.3d 945, 953 (11th
Cir. 2007) (explaining that plaintiff's burden at decertification
stage is stricter than at conditional certification stage). See
also Montoya v. Rescue Indus., Inc., 176 F.3d 489 (10th Cir. 1999).

While the First Circuit has not addressed this two-step
process, it has been approved by the Second, Third, Sixth, Tenth,
and Eleventh Circuit Courts of Appeals. See, e.g., Glatt v. Fox

Searchlight Pictures, Inc., 811 F.3d 528, 540 (2d Cir. 2016);

 

Camesi v. Univ. of Pittsburgh Med. Ctr., 729 F.3d 239, 243 (3d
Cir. 2013); Comer v. Wal-Mart Stores, Inc., 454 F.3d 544, 546-47
(6th Cir. 2006); Thiessen v. Gen. Elec. Cap. Corp., 267 F.3d 1095,
1102-05 (10th Cir. 2001) (approving two-step approach in case under
Age Discrimination in Employment Act, "which expressly borrows the

opt-in class mechanism of [FLSA]") ; Mickles on behalf of herself

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v. Country Club Inc., 887 F.3d 1270, 1276-77 (llth Cir. 2018).
Lower courts in the Fourth, Seventh, Eighth, Ninth, D.C., and
Federal Circuits have indicated that it is the predominant approach

in those circuits as well. See Rottman v. Old Second Bancorp, Inc.,

 

735 F. Supp. 2d 988, 990-91 (N.D. Ill. 2010); Houston v. URS Corp.,
591 F. Supp. 2d 827, 831 (E.D. Va. 2008); Kautsch v. Premier
Comme'ns, 504 F. Supp. 2d 685, 688 (W.D. Mo. 2007); Encinas v.

J.J. Drywall Corp., 265 F.R.D. 3, 6 (D.D.C. 2010); Leuthold v.

 

Destination Am., Inc., 224 F.R.D. 462, 467 (N.D. Cal. 2004);

 

Dominick v. United States, 135 Fed. Cl. 714, 716 (2017).

 

The court recognizes that the Fifth Circuit rejected this
two-step approach to conditional certification in Swales v. KLLM

Transp. Servs., L.L.C., 985 F.3d 430 (5th Cir. 2021). Moreover,

 

even if the two-step approach is generally correct, it would be
within the court's discretion to allow limited discovery before
deciding the motion for conditional certification in a particular
case. See, e.g., Glatt, 811 F.3d at 540 (endorsing two-step process
but explaining that district court allowed some discovery before
notifying class). Defendants request such discovery on the issues
of willfulness and of Bah's individual claims in order to determine
whether Bah is "similarly situated" to potential opt-in
plaintiffs. See Feb. 17, 2021 Joint Statement (Dkt. No. 114) at 7.
However, the issues of willfulness and the merits of Bah's claims

are closely intertwined with the merits of the possible class

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action, and "whether the plaintiffs who have opted in are in fact
‘similarly situated' to the named plaintiff[(]" is a question better
addressed at the second stage of the certification process, when

such opt-in plaintiffs have been identified. Myers v. Hertz Corp.,

 

624 F.3d 537, 555 (2d Cir. 2010). Neither of these issues warrant
departure from the two-step approach followed by the majority of
courts, in which notification of the class is a pre-discovery step
"merely to determine whether ‘similarly situated' plaintiffs do in
fact exist." Id. (emphasis in original). Accordingly, the court is
not ordering limited discovery before adjudicating the motion to
conditionally certify the proposed class, if in view of the
foregoing jurisprudence defendants believe there is a proper basis
under Federal Rule of Civil Procedure 11(b) to contest conditional
certification.

IV. ORDER

In view of the foregoing, it is hereby ORDERED that:

1. Defendants! Motion for Reconsideration of the Court's
Order on Defendants' Motion to Dismiss on the Issue of Wilifulness
(Dkt. No. 106) is DENIED.

2. The parties shall confer and if defendants do not
stipulate to conditional certification of the class without
prejudice, plaintiff shall file his supplemental brief in support

of conditional certification by October 4, 2021.

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3. Defendants shall file their opposition by November 5,
2021.

4, Plaintiff shall file any reply by November 19, 2021.

5. If necessary, a hearing on Plaintiff's Motion for the
Issuance of Notice Pursuant to §216(b) of the FLSA (Dkt. No. 5)
shall be held on December 8, 2021, at 2:00 p.m., by videoconference
unless otherwise ordered. Plaintiff and a representative of
defendants with full settlement authority shall attend.

6. If defendants stipulate to conditional certification of
the class without prejudice, the parties shall confer and, by
October 18, 2001, report, jointly if possible, concerning how this

case shall proceed.

 
   
 

UNITED STATES DISTRICT JUD

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